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 9                            IN THE UNITED STATES DISTRICT COURT
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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,       )                  CASE NO. 12-cr-0376-WBS
13
                                     )
14                     Plaintiff,    )
                                     )                  STIPULATION AND [PROPOSED]
15         v.                        )                  ORDER FOR CONTINUANCE; EXCLUDE
                                     )                  TIME
16
                                     )
17   JORGE MEDINA VASQUEZ,           )
     ROBERTO JOSE VASQUEZ, and       )
18   DIEGO FERNANDO LIMON RODRIGUEZ, )
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                                     )
                       Defendants.   )
20                                   )
                                     )
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22          The parties request that the status conference in this case be continued from February 19,
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     2013, to April 8, 2013 at 9:30 a.m. The parties stipulate that the time between February 19, 2013
24
     and April 8, 2013, should be excluded from the calculation of time under the Speedy Trial Act.
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     The parties stipulate that the ends of justice are served by the Court excluding such time, so that

27   counsel for the defendants may have reasonable time necessary for effective preparation taking
28   into account the exercise of due diligence. 18 U.S.C. §3161(h) (7) (B) (iv), Local Code T4.
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 1          The parties stipulate and agree that the interests of justice served by granting this
 2
     continuance outweigh the best interests of the public and the defendant in a speedy trial. 18
 3
     U.S.C. §3161(h) (7) (A).
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 5                                                         Respectfully Submitted,
                                                           RUSSELL S. HUMPHREY
 6
                                                           Attorney at Law
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 9
     Dated: February 15, 2013                      /s/ Russell S. Humphrey
                                                   Attorney for Jorge Medina Vasquez
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11   Dated: February 15, 2013                      /s/ Tim Tuitavuki (auth. 02/15/13)
12
                                                   Attorney for Roberto Jose Vasquez

13
     Dated: February 15, 2013                      /s/ Arturo Hernandez (auth. 02/15/13)
14
                                                   Attorney for Diego Fernando Limon Rodriguez
15

16   Dated: February 15, 2013                      /s/ Jill Marie Thomas (auth. 02/15/13)
                                                   Assistant U.S. Attorney
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19                                                 SO ORDERED.
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     DATE: February 21, 2013
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